Case 2:19-cv-01546-SJF-AKT Document 91 Filed 05/15/20 Page 1 of 1 PageID #: 597

                              WILLIAM D. WEXLER, ESQ.
                                 ATTORNEY AT LAW
                               816 DEER PARK AVENUE
                           NORTH BABYLON, NEW YORK 11703
                                     (631) 422-2900

                                                                 May 14, 2020
Hon. A. Kathleen Tomlinson
United States Magistrate Judge
Eastern District of New York
910 Federal Plaza
Central Islip, NY 11722

       Re:     Nin, et al v. County of Suffolk, et al., 19-CV-01546 (SJF)(AKT)

Dear Magistrate Judge Tomlinson:

       I represent the defendants Town of Islip and the individual Town defendants (Town
defendants) in the afore-referenced action and submit this letter in opposition to plaintiffs’ letter
application dated May 11, 2020 (ECF 88).

        The Town opposes plaintiffs’ application for the same reasons addressed by Arlene
Zwilling in her letter of May 13, 2020 (ECF 89). It should be noted that Ms. Zwilling and the
undersigned have had a number of discussions concerning the plaintiffs' depositions requests of
both County and Town defendants. As stated by Ms. Zwilling, all of the defendants wish to be
present at the depositions. We do not know how that technology will accommodate this owing to
the large number of participants. Even presupposing the technology existed, with the current crisis,
I am not anxious to start meeting with my clients, and other witnesses to prepare for these
depositions.

        Further, as recognized by Ms. Zwilling, Judge Feuerstein set August 10, 2020 as the close
of discovery (which date was set on February 20, 2020, while the courts were still open and the
full impact of the current crisis was not yet appreciated). As such, there are three months remaining
prior to the end of discovery within which to finish discovery. As no one could have anticipated
the scope of the disruptive nature of the current crisis, I do not believe that any judge will be
unmindful of some unanticipated delays in completing discovery. I do not see the rationale, at this
point, in placing all of those involved, parties, attorneys and witnesses, in jeopardy.

        Accordingly, for the reasons addressed above, and those raised by Ms. Zwilling, I
respectfully request that the plaintiffs’ application, as it applies to the Town of Islip defendants, be
denied.

                                                       Respectfully submitted,

                                                            s/

                                                       William D. Wexler

WDW/cm

cc:    Richard W. Young, Esq.
       Arlene S. Zwilling, Esq.
